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 4                        UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF CALIFORNIA
 6

 7   UNITED STATES OF AMERICA,             No. 2:13-cr-00332-GEB
 8                 Plaintiff,
 9        v.                               ORDER DENYING SEALING REQUESTS
10   TINA MARIE BINI, MATTHEW LEE
     BOYLE,
11
                   Defendants.
12

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14              On January 21, 2016, the government submitted for in

15   camera    consideration     as   to   each    Defendant    the    following

16   documents: a request to seal, the document sought to be sealed,

17   and a proposed sealing order. The government filed on the public

18   docket a “Notice of Request to Seal” in connection with each

19   sealing request, in which it states: “Pursuant to Local Rule 141

20   of the Eastern District of California, the United States hereby

21   gives notice that it has submitted a Request to Seal Document(s)

22   regarding the above-captioned matter.” (Notices of Reqs. to Seal,

23   ECF Nos. 84-85.)

24              Local Rule 141(b) prescribes that the publicly filed

25   Notices

26              shall describe generally the documents sought
                to be sealed, the basis for sealing, the
27              manner   in  which   the  “Request   to  Seal
                Documents,” proposed order, and the documents
28              themselves were submitted  to the Court, and
                                      1
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 1                whether the Request, proposed order, and
                  documents were served on all other parties.
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 3   E.D. Cal. R. 141(b).

 4                The government’s Notices do not satisfy any of these

 5   requirements.     Therefore,      the       sealing    requests    are      DENIED.

 6   Further,    the   documents    submitted       to     chambers   for   in    camera

 7   consideration     are   treated    as       having     been   returned      to   the

 8   government under the rationale of Local Rule 141(e)(1), which

 9   states: “If a [sealing r]equest is denied in full or in part, the

10   Clerk will return to the submitting party the documents for which

11   sealing has been denied.” See also United States v. Baez–Alcaino,

12   718 F. Supp. 1503, 1507 (M.D. Fla. 1989) (indicating that when a

13   judge denies a sealing request, the party submitting the request

14   then decides how to proceed in light of the ruling).

15   Dated:     January 21, 2016

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